    Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 1 of 8




                                   	
                                   	
                                   	
                       EXHIBIT	3	
	                      	
                    Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 2 of 8
  WTRON                                                                                           Exposed Motorized Shade
                                                                                                                   085560c 1 02.02.18
  Palladiom Shading System
  Lutron Palladiom Motorized Roller Shades
  are ideal for exposed applications.
  Controlled by an ultra-quiet, precision
  Sivoia QS Palladiom drive, these shades
  are mounted on solid aluminum brackets
  that completely conceal wiring and offer a
  refined aesthetic in a variety of finishes to
  match any setting.




  Features                                                           Power and Communication
• Single shades up to 12 ft (3.66 m) wide                           • Low-voltage power and communication in a single
• Single shades up to 12 ft (3.66 m) tall                             4-wire cable
• Symmetrical light gaps, as small as 1⁄2 in (12 mm)                • Compatible power sources
  NOTE: At high aspect ratio (tall and narrow) shade sizes,           – Individual Plug-In (QSPS-P1-1-35V)
  Lutron may apply a fabric deduction, which increases the            – 10-Output Power Panels (QSPS-10PNL, QSPSY-10PNL)
  size of the light gaps to compensate for the increased              – Configurable Power Panels (QSPS-10PNL-NPM,
  probability of telescoping                                            QSPS-30PNL-NPM, [with WIN-PS-5CC-R installed])
• Shades move in unison, maintaining alignment within               • Connector provided with shade is compatible with
  1
    ⁄8 in (3 mm) at all times                                         16-24 AWG solid or stranded wire (when using the
• Bottom bar speed: 3.6 in/sec (91.4 mm/sec)                          wire housing WIN-WM-BOX-10, stranded wire is
                                                                      recommended due to its greater flexibility)
• Solid aluminum shade brackets with concealed fasteners,
  available in a variety of finishes                                  Accessories
• Ideally paired with the Palladiom Bottom Rail, available in       • Wire management kit to help eliminate exposed wiring
  matching finishes                                                 • Bracket shims for each bracket type
• Available with a wide variety of fabric types, including sheer,
  translucent, and room darkening fabrics
• Power failure memory for the lifetime of the product
• Available in QS Wired and QS Wireless configurations
• Designed to provide a means to completely conceal wiring
  and control/programming buttons
  – Control/programming buttons are easily accessed
                                                                        IMPORTANT: Palladiom shades must be mounted
     behind the finishing ring on the drive bracket                     to blocking or other suitable structural material. It is
     (for details, see Finishing Rings on page 6)                       the responsibility of the installer to choose and install
• Idler can be extended 1⁄8 in (3 mm) to allow for installation         fasteners that are appropriate for the mounting surface
  tolerance. Extending the idler increases the bracket-to-              such that each shade bracket can support 400 lbs
  bracket width of the shade, as well as the light gap on the           (181 kg). For shades not in the Palladiom shade family,
                                                                        please contact Lutron for mounting guidelines.
  idler side of the shade.



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  "'"\('     S P E C I F I C AT I O N S U B M I T TA L                                                              Page 1
    Job Name:                                Model Numbers:


    Job Number:
          Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 3 of 8
  WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                            085560c 2 02.02.18

  Specifications
  Low Voltage Power                                              Precision Control
• Operating voltage: Class 2, 35 V-                            • Preset positions can be easily programmed at any point
• Power supply offers overvoltage protection (+/-10% of line     between the open and close limits
  voltage) for all devices in the system                       • Shades stop within 1⁄8 in (3 mm) of programmed open,
• Power supply provides appropriate Electrostatic Discharge      close, and preset positions
  (ESD) protection for all devices in the system               • Intelligent Hembar Alignment (IHA): Shades remain within
• Power failure protection: Programming will not be lost if      1
                                                                   ⁄8 in (3 mm) alignment when stopped or moving
  power is lost to the drive
• Power must be derived from a Lutron NEC® Class 2
                                                                 Controls
                                                               • QS shades and controls in a system are wired together on
  power source
                                                                 the same communications link
  Flexible Configuration                                       • QS shades are compatible with HomeWorks QS,
• Digitally assign and reassign shades to controls, groups,      myRoom, and Quantum control systems
  and scenes                                                   • QS Wireless shades are compatible with HomeWorks QS,
• Adjust limits locally via controls on the EDU                  RadioRA 2, RA 2 Select, and Caséta PRO control systems
                                                               • Shades can be controlled by built-in shade columns on a
• Remotely adjust limits and grouping of QS shades via wired
                                                                 GRAFIK Eye QS, or by low-voltage seeTouch QS keypads
  controls or system (HomeWorks QS, myRoom, Quantum)
                                                               • Shades can be controlled using a Pico or 4-Group
• Remotely adjust limits and grouping of QS Wireless
                                                                 Remote Control
  shades via system (HomeWorks QS, Radio RA 2, RA 2
                                                               • Shades can be controlled by Radio Window sensors when
  Select, Caséta PRO)
                                                                 installed as part of a HomeWorks QS or Quantum system
• No wired relays or wired group controllers required
                                                                 Integration
  System Capacity                                              • EDUs seamlessly integrate with Lutron lighting controls
• Standalone QS configuration supports 100 QS devices          • Contact closure, RS232, and Ethernet available to
• Standalone QS configuration supports 100 QS zones              integrate with A/V equipment such as timeclocks, security
  Environment                                                    systems, and touch screens
• Temperature: 32° - 104° F (0° - 40° C)
• Humidity: 0% - 90%, non-condensing




  t)WTRON S P E C I F I C AT I O N S U B M I T TA L                                                          Page 2
    Job Name:                              Model Numbers:


    Job Number:
        Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 4 of 8
WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                                                                  085560c 3 02.02.18

 Dimensions
                   -                                                    Bracket-to-Bracket Width                                                 -
                                                                                                                                        -
         ~                                                                                                                                             V
                          ~




                     J
                              -                                                                                                         -

                                   //                                                                                  //
 Installed Shade
 Wall Mount (outside mount)
                   ""'.                                                 Bracket-to-Bracket Width                                                 ::-



        I~                                                                                                                                       ,-
                                                                                                                                                       V
    0.50 in --+           -                                                       Fabric width                                              -          ~ 0.50 in
  (12 mm)                                                                                                                                                (12 mm)



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Measurements & Deductions
   Bracket-to-Bracket Width Deductions                                                       Fabric Deductions
• Outside-mount shades: no deduction                                                      • Lutron may apply fabric deductions to tall, narrow shades
• Inside-mount single and 2-shade systems: 1⁄16 in (1.6 mm)                                 – Maximum fabric deduction of 1⁄4 in (6 mm) per side,
• Inside-mount systems with 3 or more shades:                                                 resulting in a light gap of 3⁄4 in (19 mm) per side
  1
    ⁄16 in (1.6 mm) deduction applies only to first and last shade                          – Fabric deduction does not               No Fabric Deduction
                                                                                              reveal a bare shade tube;
                                                                                              Palladiom shades feature a                  1⁄2 in
                                                                                                                                      (12 mm)
                                                                                              finished sleeve that matches            light gap

         First Shade:             Intermediate Shade(s):           Last Shade:                the bracket to provide a                        -+I I+-
    1⁄16 in (1.6 mm) deduction         no deduction          1⁄16 in (1.6 mm) deduction
                                                                                              clean appearance
                 Example: Inside-Mount Multi-Shade System                                                                          Max. Fabric Deduction

                                                                                                                                        3⁄4 in
                                                                                                                                    (19 mm)
                                                                                                                                    light gap
                                                                                                                                            -+I
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"'"\('     S P E C I F I C AT I O N S U B M I T TA L                                                                                                  Page 3
 Job Name:                                                 Model Numbers:


 Job Number:
        Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 5 of 8
WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                                                                                                                               085560c 4 02.02.18

 Shade Options
 Mounting Options                                                            Fabric Drop Options



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                                                                                                                   ----         /
                                                                                                                                                                                        Reverse Roll
                                                                                                        Regular Roll

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         ~EB BB•~,           ~
                                       ~L-



                                                     Outside Mount
                                                                             ~L-
                                                                                                                       B BB•                        '--"'-
                                                                                                                                                             ~,~
                                                                                                                                                                                                                                   "'
              Inside Mount                                                 NOTE: Reverse roll is recommended for dual-sided fabric, otherwise
                                                                           the shade roll will be a different color than the hanging fabric.

 Drive Side Options                                                          Bottom Bar Options
         ..
                                                          Right Side
        Left Side




                                                                                                                  1.                                2.             3.                                    4.                         5.
                                                                             1. Palladiom Bottom Rail*




        BB•
                                                                             2. Half-Wrap Architectural Bottom Bar with Metal Endcaps*
                                                                             3. Half-Wrap Architectural Bottom Bar with Plastic Endcaps
                                                                             4. Designer
                                 "'-                                         5. Sealed (available in 3⁄16 x 1 in [5 x 25 mm] or 7⁄16 x 1 3⁄8 [11 x 35 mm])
 t'--
                                                                             * Finishes available:
                                                                              • Pure White
                                                                              • Clear Anodized
                                                                              • Black Anodized                                                      NOTE: Bottom bar may be ordered in
                                                                              • Satin Nickel                                                              different finish than brackets




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.."~WTRO             S P E C I F I C AT I O N S U B M I T TA L                                                                                                                                                     Page 4
 Job Name:                                   Model Numbers:

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 Job Number:
          Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 6 of 8
  WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                                                                                                 085560c 5 02.02.18
  Mounting Options
  Palladiom mounting brackets and accessories are made from solid aluminum and are available in 4 standard finishes.
• Finishes available: Clear Anodized, Black Anodized, Satin Nickel, Pure White
  NOTE: Brackets may be ordered in different finish than bottom bar
• Maximum fabric roll-up: 3 in (76 mm)
• Aesthetic enhancements for clean, finished appearance (details on following page)
• Shims for end and center brackets can be used to level the shade (ceiling mount) or increase projection (wall mount)
• Shims for jamb brackets can be used to adjust the fit of the shade between the window jambs


  End Bracket                     Wall Mount                                                               Ceiling Mount                                            End Bracket Shim
                                                                                                                                                                    (sold separately in packs of 10)
                                                                                                                                                    1.45 in
                                                                                            1.45 in        1-- 2.00 in (51 mm)              1---   (37 mm)    --1

                                                                                                                                   I
                                              3.00 in (76 mm)                              (37 mm)



                                                                            2.00 in                                               3.00 in                           Finishes available:
                                                                           (51 mm)                                               (76 mm)                             • Clear Anodized:



                                                                                                                                  1
                                                                                                                                                                         WIN-SHIM-LWC-CLA
                                                                                                                                                                     • Black Anodized:
                                                                                                                                                                         WIN-SHIM-LWC-BLA
                                                                                                                                                                     • Pure White:
                                                                                                                                                                         WIN-SHIM-LWC-PWH


  Center Bracket                  Wall Mount                                                               Ceiling Mount                                            Center Bracket Shim
  (1) bracket supports 2 shades
  (shades are not coupled)                                                                                                                                          (sold separately in packs of 10)
                                                                                                                                               1.90 in
                                                                                                              2.00 in (51 mm)                 (48 mm)




                                                                           :
                                                                                            1.90 in
                                  I--- 3.00 in (76 mm) - I                          I---   (48 mm)    -I

                                                 ~~
                                  -,- - - - - - - -                       2.00 in
                                                                         (51 mm)
                                                                                                                                  3.00 in
                                                                                                                                 (76 mm)
                                                                                                                                                                    Finishes available:
                                                                                                                                                                     • Clear Anodized:
                                                                                                                                                                         WIN-SHIM-LT-CLA
                                                                                                                                                                     • Black Anodized:
                                                                                                                                                                         WIN-SHIM-LT-BLA
                                                                                                                                                                     • Pure White:
                                                                                                                                                                         WIN-SHIM-LT-PWH


  Jamb Bracket                    Inside Mount                                                                                                                      Jamb Bracket Shim
                                                                                                                                                                    (sold separately in packs of 10)

                                                                Preferred orientation:                           Alternate orientation:


                                     T
                                                                Window




                                    2.00 in                                                                                                                         Finishes available:
                                   (51 mm)
                                                                                                                                                                     • Clear Anodized:

                                     1                                       1.86 in (47 mm)
                                                                                                                                                                         WIN-SHIM-LJ-CLA
                                                                                                                                                                     • Black Anodized:
                                                                                                                                                                         WIN-SHIM-LJ-BLA
                                                                                                                                                                     • Pure White:
                                  NOTE: Use the flat edge as a reference to orient and mount the jamb bracket square to the window.                                      WIN-SHIM-LJ-PWH


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  "'"\('     S P E C I F I C AT I O N S U B M I T TA L                                                                                                                            Page 5
     Job Name:                                              Model Numbers:


     Job Number:
        Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 7 of 8
WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                                                        085560c 6 02.02.18
Aesthetic Enhancements

Concealed Wiring
 Bracket-integrated power connection combines with in-wall wire management accessories (details on following page), for fully-concealed wiring

                                  . _::·..


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                                     :·::·
                                                                           Wire passage
                                                                           inside bracket




Finishing Rings
 Each bracket includes a finishing ring in matching finish (center bracket includes 2), to conceal the bracket-shade interface




Screw Covers
 Each bracket includes a screw cover in matching finish (not applicable to jamb bracket; center bracket includes 2)


                              Matching screw cover
                              slides on to conceal
                              fastener heads                        \         \




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"'"\('     S P E C I F I C AT I O N S U B M I T TA L                                                                                     Page 6
 Job Name:                                           Model Numbers:


 Job Number:
        Case 1:18-cv-05290-CM Document 17-3 Filed 06/21/18 Page 8 of 8
WTRON Palladiom Shading System                               Exposed Motorized Shade
                                                                                                                                                                       085560c 7 02.02.18
Wire Management

Wire Housing
     Wire housing for installation inside wall or trim secures, protects, and allows access to the shade’s electrical connection.




r,
     Can be installed beneath the bracket or concealed using the Spackle Ring and Plug.



                                                                                                                                   I >-----         T1.20 in
                                                                                                                                                   (30.5 mm)
                                                                                                                                                                                         0.62 in
                                                                                                                                                                                        (16 mm)

                                                                  D
                                                                                                  3.50 in (89 mm)
                                                                                                                                   0
                                                                                                                                                   1                   0.78 in
                                                                                                                                                                      (20 mm)




                Package of 10:
               WIN-WM-BOX-10                                    E                                                                  B
Spackle Ring & Plug
     Preserves clean wire entry during wall finishing, and provides bite for spackle in the transition area.
     Lutron recommends positioning the spackle ring behind the fabric roll, (if conditions allow), to maintain a clean aesthetic.


                            1.00 in
                           (25 mm)




         Package of 10 rings, 10 plugs:                                              3.50 in (89 mm)
               WIN-WM-SR-10




                           S P E C I F I C AT I O N S U B M I T TA L                                                                                                    Page 7
  Job Name:                                        Model Numbers:


  Job Number:
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